          Case 2:21-cv-01530-AMM Document 61-1 Filed 12/14/21 Page 1 of 2                               FILED
                                                                                               2021 Dec-14 AM 07:27
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA
                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


  EVAN MILLIGAN, SHALELA DOWDY,
  LETITIA JACKSON, KHADIDAH STONE,
  ADIA WINFREY, GREATER
  BIRMINGHAM MINISTRIES, and the
  ALABAMA STATE CONFERENCE OF
  THE NAACP,

                  Plaintiffs,
                                                               Case No.: 2:21-cv-1530-AMM
                  vs.

  JOHN H. MERRILL, in his official capacity
  as Secretary of State of Alabama, and JIM
  MCCLENDON and CHRIS PRINGLE, in
  their official capacities as Co-Chairs of the
  Alabama Permanent Legislative Committee
  on Reapportionment,

                  Defendants.


                                DECLARATION OF BRITTANY CARTER

I state, under penalty of perjury, that:

    1) My residential address is 5603 Oak Falls Circle, Dallas, TX 75287.

    2) I am an attorney and Political Participation Fellow at the NAACP Legal Defense and
       Educational Fund, Inc. at 40 Rector Street, 5th floor, New York, NY 10006; Phone: (646)
       761-0596; Email: bcarter@naacpldf.org.

    3) I am admitted to practice in the State of New York (admitted 2021).

    4) I am in good standing and eligible to practice in all courts to which I am admitted.

    5) I have fully reviewed and am familiar with the local rules of this Court, the Alabama
       Rules of Professional Conduct, and the Model Rules of Professional Conduct.

    6) In accordance with Local Rule 83.1(b)(2), I designate Nicki Lawsen (ASB-2602-C00K)
       as my Local Counsel in this matter. Ms. Lawsen is a local member of the bar of this
       Court and will also represent the Plaintiffs in this matter.
         Case 2:21-cv-01530-AMM Document 61-1 Filed 12/14/21 Page 2 of 2



I declare under penalty of perjury that the foregoing is true and correct.


Executed on December 14, 2021.

                                                Respectfully submitted,

                                                /s/ Brittany Carter
                                                Brittany Carter
                                                NAACP Legal Defense and Educational Fund, Inc.
                                                40 Rector St, 5th Floor
                                                New York, NY 10006
                                                Phone: (646) 761-0596
                                                E-mail: bcarter@naacpldf.org

                                                Applicant Attorney for Plaintiffs




                                                   2
